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                    IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                              CENTRAL DIVISION

JAMES GIRLEY                                                                   PLAINTIFF
ADC #112981

VS.                                 4:20-cv-01173-BRW

SHERI J. FLYNN                                                               DEFENDANT


                                      JUDGMENT

      Based on the order entered today, this case is DISMISSED without prejudice.

      IT IS SO ORDERED this 20th day of October, 2020.



                                             Billy Roy Wilson _________________
                                             UNITED STATES DISTRICT JUDGE
